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lN THE UN|TED STATES D|STR|CT COURT mg'¥°"' -»--_.D.i

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Plaintiff

 

VS.
CR. NO. 05-20151-B

JOE HOWELL

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a suppression hearing and report date on June 23, 2005.
At that time, counsel for the defendant requested a continuance of the Juiy 5, 2005 trial
date in order to allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Monda Se tember 26 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor

 

of the Federal Bui|ding, Memphis, TN.

The period from June 23, 2005 through October14, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a s eedy tria|.

lT |S SO ORDERED this 313 da 0 June, 2005.

/M

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This dochnent entered on the dockets et in compli e
with Flulo 55 and!or 32lhi FRCrP on M" '

         
 

UNITED sTATE D"ISIC COURT - WESTRNE D's'TRCT 0 TESSEE

  

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20151 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honcrable J. Breen
US DISTRICT COURT

